Case: 2:22-cv-03949-EAS-KAJ Doc #: 1-3 Filed: 11/09/22 Page: 1 of 10 PAGEID #: 16




                                                                EXHIBIT A
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                        MARYELLEN O'SHAUGHNESSY
 CLERK OF THE FRANKLIN COUNTY COMMON PLEAS COURT, COLUMBUS, OHIO 43215
                            CIVIL DIVISION


JOSEPH PLANCON
96 GAINSWAY COURT
POWELL, OH 43065,

                                        22CV-10-7040
                    PLAINTIFF,            CASE NUMBER
            VS.
KIA AMERICA INC
C/O CT CORPORATION SYSTEM
4400 EASTON COMMONS WAY
SUITE 125
COLUMBUS, OH 43219,
                DEFENDANT.

                               **** SUMMONS ****                10/10/22

TO THE FOLLOWING NAMED DEFENDANT:
       KIA AMERICA INC
       C/O CT CORPORATION SYSTEM
       4400 EASTON COMMONS WAY
       SUITE 125
       COLUMBUS, OH 43219

YOU HAVE BEEN NAMED DEFENDANT IN A COMPLAINT FILED IN FRANKLIN COUNTY
COURT OF COMMON PLEAS, FRANKLIN COUNTY HALL OF JUSTICE, COLUMBUS, OHIO,
BY:    JOSEPH PLANCON
       96 GAINSWAY COURT
       POWELL, OH 43065,

                                                           PLAINTIFF(S).

A COPY OF THE COMPLAINT IS ATTACHED HERETO. THE NAME AND ADDRESS OF
THE PLAINTIFF'S ATTORNEY IS:
       FREDERIC A. PORTMAN
       AGEE CLYMER MITCHELL
       SUITE 1100
       140 EAST TOWN STREET
       COLUMBUS, OH 43215

YOU ARE HEREBY SUMMONED AND REQUIRED TO SERVE UPON THE PLAINTIFF'S
ATTORNEY, OR UPON THE PLAINTIFF, IF HE HAS NO ATTORNEY OF RECORD, A COPY
OF AN ANSWER TO THE COMPLAINT WITHIN TWENTY-EIGHT DAYS AFTER THE SERVICE
OF THIS SUMMONS ON YOU, EXCLUSIVE OF THE DAY OF SERVICE. YOUR ANSWER
MUST BE FILED WITH THE COURT WITHIN THREE DAYS AFTER THE SERVICE OF A
COPY OF THE ANSWER ON THE PLAINTIFF'S ATTORNEY.

IF YOU FAIL TO APPEAR AND DEFEND, JUDGMENT BY DEFAULT WILL BE RENDERED
AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

MARYELLEN O'SHAUGHNESSY
CLERK OF THE COMMON PLEAS
FRANKLIN COUNTY, OHIO

BY:   JANIE STANLEY, DEPUTY CLERK
                                                                    (CIV370-S03)
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                                    MARYELLEN O'SHAUGHNESSY
             CLERK OF THE FRANKLIN COUNTY COMMON PLEAS COURT, COLUMBUS, OHIO 43215
                                         CIVIL DIVISION
                                                                         JUDGE J. PAGE

 JOSEPH PLANCON,
 ET. AL.,
                PLAINTIFF,

                                        22CV-10-7040
             VS.
                                               CASE NUMBER


 KIA AMERICA INC
 ET. AL.,
                DEFENDANT.

                                CLERK'S ORIGINAL CASE SCHEDULE    •


                                                                      LATEST TIME OF OCCURRENCE

CASE FILED                                                            10/10/22

INITIAL DISCLOSURES OF THE PARTIES [CIV. R. 26(B)(3)]                 01/02/23

DISCOVERY CONFERENCE OF COUNSEL AND UNREPRESENTED PARTIES             02/06/23
[CIV. R. 26(F)]

JOINT DISCOVERY PLAN TO BE FILED                                      14 DAYS AFTER DISCOVERY
                                                                      CONFERENCE

CASE MANAGEMENT CONFERENCE WITH COURT                                 03/20/23 0830 AM

EXPERT WITNESS [CIV. R. 26(B)(7)]

  DISCLOSE IDENTITY - PARTY WITH BURDEN                               05/22/23

  DISCLOSE IDENTITY - PARTY WITHOUT BURDEN                            NO LATER THAN 30 DAYS AFTER
                                                                      OPPOSING DISCLOSURE

  EXPERT REPORT & CV DUE - PARTY WITH BURDEN                          08/14/23

  EXPERT REPORT & CV DUE - PARTY WITHOUT BURDEN                       NO LATER THAN 60 DAYS AFTER
                                                                      OPPOSING REPORTS

DISPOSITIVE MOTION DEADLINE                                           03/11/24

DISCOVERY CUTOFF DATE                                                 05/13/24

FINAL PRETRIAL CONFERENCE                                             09/30/24 0845 AM

TRIAL ASSIGNMENT                                                      10/28/24 0900 AM
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                                 MARYELLEN O'SHAUGHNESSY
          CLERK OF THE FRANKLIN COUNTY COMMON PLEAS COURT, COLUMBUS, OHIO 43215
                                      CIVIL DIVISION
                                                                      JUDGE J. PAGE

JOSEPH PLANCON,
ET. AL.,
               PLAINTIFF,

                                      22CV-10-7040
           VS.
                                             CASE NUMBER


KIA AMERICA INC
ET. AL.,
               DEFENDANT.

                              CLERK'S ORIGINAL CASE SCHEDULE




                                    NOTICE TO ALL PARTIES


    Attorneys and unrepresented parties must become familiar with the 2020 amendments to the
Ohio Rules of Civil Procedure and this court's Local Rules.

    The Original Cape Schedule is an Important tool to assist the parties and the court in
meeting case management guidelines in the Ohio Superintendence Rules, and otherwise
achieving timely disposition of civil cases notwithstanding the priority given to criminal
cases under Crim. R. 50.

    Judicial Officers of this court may modify the Original Case Schedule following receipt
of the parties' Joint Discovery Plan, or for good cause at any other point in the case.
However, it is essential for attorneys and unrepresented parties to pursue their cases
diligently from the outset. Deadlines set in the Rules and in this Original Case Schedule
are normally binding, not merely aspirational.

                                                      BY ORDER OF THE COURT OF COMMON PLEAS,
                                                      FRANKLIN COUNTY, OHIO


                                                      MARYELLEN O'SHAUGHNESSY, CLERK

                                                                                    (CIV363-S10)
         Case:  2:22-cv-03949-EAS-KAJ
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                                      MARYELLEN O'SHAUGHNESSY

                               FRANKLIN COUNTY CLERK OF COURTS
                            GENERAL DIVISION,COURT OF COMMON PLEAS

    CASE TITLE: JOSEPH PLANCON -VS- MA AMERICA INC ET AL                CASE NUMBER:22CV007040




    TO THE CLERK OF COURTS, YOU ARE INSTRUCTED TO MAKE:
    CERTIFIED MAIL

    DOCUMENTS TO BE SERVED:
    COMPLAINT

    PROPOSED DOCUMENTS TO BE SERVED:

    UPON:
    KIA AMERICA INC
    C/O CT CORPORATION SYSTEM
    4400 EASTON COMMONS WAY
    SUITE 125
    COLUMBUS, OH 43219



     JUVENILE CITATIONS ONLY:

           HEARING TYPE:

           -Date   already scheduled at : Courtroom:



    Electronically Requested by: FREDERIC PORTMAN
    Attorney for:
          Franklin
         Case:     County Ohio Clerk of Courts
                2:22-cv-03949-EAS-KAJ       Docof#:
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                      IN THE COMMON PLEAS COURT OF FRANKLIN COUNTY,OHIO
                                        CIVIL DIVISION


           JOSEPH PLANCON
           96 Gainsway Court                                      CASE NO.
           Powell, Ohio, 43065

                           Plaintiff,                             JUDGE
           V.


           MA AMERICA,INC.                                        JURY DEMAND ENDORSED HEREIN
           do CT Corporation System
           4400 Easton Commons Way, Suite 125
           Columbus, Ohio 43219

           and
                                                                          COMPLAINT
           JOHN DOE CORPORATIONS
           ONE(1)THROUGH THREE(3)
           Names and Addresses Unknown

           and

           JOHN DOE BUSINESS ENTITITES
           ONE(1)THROUGH THREE(3)
           Names and Addresses Unknown

           and

           JOHN DOE INDIVIDUALS
           ONE(1)THROUGH THREE(3)
           Names and Addresses Unknown

                            Defendants.



                    Now comes Plaintiff, Joseph L. Plancon, by and through counsel, and states the following:

                                                      FIRST CLAIM

                 1. At all times relevant herein, Plaintiff, Joseph L. Plancon (hereinafter "Plaintiff'), was and

                    is, a resident of Delaware County, State of Ohio, residing in the city of Powell.
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              2 At all times relevant herein, Defendant Kia America, Inc., with headquarters and principal

                  place of business in Orange County, California, is licensed and conducts business in the

                  State of Ohio.

              3. At all times relevant and material herein, Plaintiff was employed as a Columbus, Ohio

                  Police Officer assigned to drive, in the course of his employment, a 2014 Kia Sorento

                 (hereinafter "vehicle")that was and is owned by the City of Columbus of Columbus, Ohio.

               4. The aforementioned vehicle that Plaintiff was operating was manufactured, assembled,

                  inspected, and put through the stream of commerce by Defendant's multinational

                  companies and/or entities that conduct business in the state of Ohio.

               5. On October 15, 2020, Plaintiff was operating the aforementioned vehicle southbound on I-

                  71 near the East Fifth Avenue exit when the traffic began to slow, Plaintiff attempted to

                  slow and stop the brakes of the vehicle. However, when Plaintiff attempted to stop the

                  vehicle using the brakes, the brakes failed causing him to strike the vehicle ahead of him.

               6. The 2014 Kia Sorento, operated by Plaintiff, was defective because there were leaks inside

                  the hydraulic electronic control unit and this leakage caused the brakes to fail when

                  Plaintiff attempted to activate them, thereby causing the above-referenced accident.

               7. Plaintiff further avers that Defendant was aware of the defects in the hydraulic control

                  system prior to the above-referenced accident. However, neither the City of Columbus of

                  Ohio, nor Plaintiff were aware of the defect until Defendant issued a "recall notice" on or

                  about July 2, 2021.

               8 Defendant was negligent in the assembling, construction, production, 1nd placement of a

                  defective hydraulic electronic control unit in the vehicle that Plaintiff] was operating on
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                   October 15, 2021. Defendant was also negligent in failing to warn the City of Columbus

                  of Ohio and Plaintiff in a timely fashion.

               9. Plaintiff states that the above-described acts of negligence directly and proximately caused

                  the injuries and damages listed below.

               10. As a direct and proximate result of the above-referenced accident, Plaintiff has suffered

                   injuries to his right shoulder, right arm, neck, and other parts of his body, causing pain,

                  suffering, and permanent injury.

               1 1. As a direct and proximate result of the Defendant's negligence, Plaintiff has incurred

                   medical bills in excess of $3,000.00 and expects to incur future medical costs.

               12. As a direct and proximate result of the Defendant's negligence, Plaintiff has lost wages in

                   excess of $1,000.00 and expects to incur future lost earnings. Plaintiff has suffered a

                   permanent impairment in earning capacity.

                                                       SECOND CLAIM

               13. Plaintiff incorporates by reference and re-avers the allegations set forth in Paragraph one

                 (1)through twelve(12) as if fully rewritten herein.

               14. Plaintiff states that Defendants are engaged in a business to design, formulate, produce,

                   create, make, construct, and assemble the vehicle Plaintiff was operating. Thus, Defendant

                   is a manufacturer pursuant to R.C. §2307.71(9).

               15. Plaintiff states that in the alternative that Defendants are suppliers pursuant to R.C. §

                   2307.71(15)(a) as they conduct, sells, distribute, package, label or otherwise participate in

                   the stream of commerce.

               16. Plaintiff states that the vehicle was defective in its manufacture, construction, and design.
          Franklin
        Case:      County Ohio Clerk of Courts
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               17. Plaintiff states the vehicle was defective because it did not conform to reiresentations made

                  by its manufacturer that the braking system did not have defective components.

               18. Plaintiff states that the allegations set forth in paragraph fourteen (14 through eighteen

                 (18) constitute a product liability claim as described and set forth in Ohio Revised Code,

                  Sections 2307.71 to 2307.80.

               19. Plaintiff states that as a direct result of Defendants' violation of the Ohio Revised Code

                  Sections above, he has suffered injuries, harm, and damages as described and set forth in

                  the First Claim.

                                                        THIRD CLAIM

               20. Plaintiff incorporates all allegations contained in the preceding paragraphs as if fully

                   rewritten herein.

               21. At all times relevant herein, Defendants John Doe Corporations One (ii through Three(3)

                   and/or John Doe Business Entities One(1)through Three(3), and/or Jorn Doe Individuals

                   One (1) through Three (3), whose identities are currently unknown to Plaintiff and have

                   yet to be discovered, are liable for the negligent conduct of the Defendant, Kia America,

                  Inc., as well as the injuries and damages described above, either by way of direct causation,

                   vicarious liability, and/or under the Doctrine of Respondeat Superior.

               22. When the true names of said Defendants John Doe Individuals, Business Entities and

                   Corporations become known, Plaintiff will seek leave to amend this Complaint in

                   accordance with the Ohio Rules of Civil Procedure

               WHEREFORE,Plaintiff demands judgment against Defendants in an amount in excess of

               Twenty-Five Thousand Dollars($25,000.00); and for such other and further relief as the Court

               may deem appropriate under the law and facts of this case.
          Franklin
         Case:     County Ohio Clerk of Courts
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                                                                Respectfully Submitted,


                                                                   /s/Frederic A. Portman
                                                                Sara L. McElroy (0099672)
                                                                Frederic A. Portman (0010382)
                                                                Agee Clymer Mitchell & Portman
                                                                140 E. Town Street, Ste. 1100
                                                                Columbus, Ohio 43215
                                                                614-221-3318
                                                                614-221-7308(fax)
                                                                  prtmanpageecI yrn er coal
                                                                Counselfor Plaintiff



                                                     JURY DEMAND

                  Plaintiffs hereby demands a trial by jury of eight(8)jurors as to all issues contained herein.



                                                                    /s/Frederic A. Portman
                                                                Frederic A. Portman (0010382)
                                                                Agee Clymer Mitchell & Portman
                                                                f:portman(ZacTeciviller.corn
                                                                Counselfor Plaintiff
